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 8                               UNITED STATES DISTRICT COURT
 9                              NORTHERN DISTRICT OF CALIFORNIA
10                                  SAN FRANCISCO DIVISION
11

12   COINMINT, LLC,                           Case No. 23-cv-00599-RS

13                 Plaintiff,                 STIPULATION AND [PROPOSED] ORDER
                                              CONTINUING CASE MANAGEMENT
14          v.                                CONFERENCE

15   DX CORR DESIGN, INC., a California
     Corporation, SAGAR REDDY, an
16   individual, ROBERT BLECK, an
     individual, JIM DENAUT, an individual,
17   FRANK KINNEY, an individual, and
     DOES 1-40, inclusive,
18
                   Defendants.
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            STIPULATION AND [PROPOSED] ORDER CONTINUING CASE MANAGEMENT CONFERENCE
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 1          IT IS HEREBY STIPULATED AND AGREED, by and between counsel for Plaintiff

 2   Coinmint, LLC (“Coinmint”), and Defendant Sagar Reddy (“Reddy”), subject to the approval of

 3   the Court, that the following shall govern this action as follows:

 4          1.      WHEREAS, on February 9, 2023, Defendant Reddy removed the above-captioned

 5   action to this Court (Dkt. 1); and

 6          2.      WHEREAS, on April 24, 2023, the Court ordered this action stayed pending an

 7   arbitration that is being conducted between Plaintiff Coinmint and non-party Katena Computing

 8   Technologies, Inc. (the “Arbitration”) (Dkt. 40); and

 9          3.      WHEREAS, the Court contemporaneously set an Initial Case Management

10   Conference for December 14, 2023, at 10:00 AM (Dkt. 40 – Minute Order); and

11          4.      WHEREAS, the Arbitration remains ongoing; and

12          5.      WHEREAS, the signatories to this Stipulation and [Proposed] Order are the only

13   parties to have made an appearance in the action.

14          NOW, THEREFORE, THE PARTIES HEREBY STIPULATE AS FOLLOWS:

15          Upon approval by this Court, the Case Management Conference set for December 14,

16   2023, shall be taken off calendar, and a Case Management Conference set on or after January 25,

17   2024, so that the parties may update the Court on the status of the arbitration.

18          IT IS SO STIPULATED.

19   DATED: December 7, 2023                     PERKINS COIE LLP

20
                                                 By: /s/
21                                                    David P. Chiappetta
                                                 Attorneys for Defendant
22                                               SAGAR REDDY
23   DATED: December 7, 2023                     GORDON REES SCULLY MANSUKHANI, LLP
24
                                                 By: /s/
25                                                    Kevin Liu
                                                 Attorneys for Plaintiff
26                                               COINMINT, LLC
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             STIPULATION AND [PROPOSED] ORDER CONTINUING CASE MANAGEMENT CONFERENCE
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 1                                       [PROPOSED] ORDER

 2          GOOD CAUSE APPEARING, it is ordered that the Case Management Conference set

 3   for Thursday, December 14, 2023, at 10:00 AM, be taken off calendar, and that a Case

 4   Management Conference be set for Thursday, __________________________, at 10:00 AM. The

 5   parties are ordered to file a joint Case Management Statement no later than seven calendar days

 6   prior to the date of the reset Case Management Conference, describing for the Court the status of

 7   the Arbitration.

 8          IT IS SO ORDERED.

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      Date: __________________, 2023                   By: _________________________________
10                                                     Richard Seeborg
11                                                     Chief District Judge of the U.S. District Court
                                                       for the Northern District of California
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             STIPULATION AND [PROPOSED] ORDER CONTINUING CASE MANAGEMENT CONFERENCE
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 1                                      SIGNATURE ATTESTATION

 2             I hereby attest under Local Rule 5-1(i)(3) that Kevin Liu, counsel for Plaintiff Coinmint,

 3   LLC, concurs in the filing of this document and has authorized me to sign this document on his

 4   behalf.

 5   Date: December 7, 2023

 6   By: /s/
 7             David P. Chiappetta

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               STIPULATION AND [PROPOSED] ORDER CONTINUING CASE MANAGEMENT CONFERENCE
